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 IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                   TENNESSEE, EASTERN DIVISION


UNITED STATES OF AMERICA          )
                                  )
                                  )
vs.                               )    NO. 17-cr-10067-STA
                                  )
                                  )
DAVID MATHIS                      )
                                  )
Defendant                         )

 ORDER GRANTING MOTION TO CONTINUE SENTENCING HEARING AND NOTICE
                           OF RESETTING

      Upon the Motion to Continue of the Defendant, and the

Government having no objection;

      IT IS HEREBY ORDERED THAT the Defendant’s Sentencing

Hearing presently set for August 20, 2018 @ 10:30 am is reset to

OCTOBER 16, 2018 at 1:30pm.




      IT IS SO ORDERED this 15th day of August, 2018.


                          s/S. Thomas Anderson
                          CHIEF UNITED STATES DISTRICT JUDGE
